902 F.2d 29Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.John Edward KUPLEN, Plaintiff-Appellant,v.Lieutenant Michael J. LAMM;  Sergeant L.W. Vaughn;  OfficerM.G. McNeil;  James Ricco Scarcella;  Ralph Landon Barefoot;Lieutenant Kenneth E. Parker;  Lieutenant R.D. Britton;Sergeant Gerald J. Branker;  Officer D. Brooks, Defendants-Appellees.
    No. 90-6039.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 2, 1990.Decided April 18, 1990.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  W. Earl Britt, Chief District Judge.  (C/A No. 88-174-CRT)
      John Edward Kuplen, appellant pro se.
      Sylvia Hargett Thibaut, Assistant Attorney General, Raleigh, N.C., for appellees.
      E.D.N.C.
      AFFIRMED.
      Before ERVIN, Chief Judge, and PHILLIPS and CHAPMAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      John Edward Kuplen appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Kuplen v. Lamm, C/A No. 88-174-CRT (E.D.N.C. Feb. 15 and Apr. 24, 1989;  Feb. 15, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    